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Paxson...
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August 30, 2017

VIA E-MAIL AND FIRST CLASS MAIL

Magistrate Judge Martin C. Carlson

Ronald Reagan Federal Bldg. & U.S. Courthouse
228 Walnut Street

Harrisburg, PA 17108-0983

Magistrate judge carlson@pamd.uscourts.gov

Re: Julie Ellen Wartluft f/k/a Julie Ellen Bartels and Frederick L. Bartels, Jr.,
Individually and as Administrators of the Estate of Abrielle Kira Bartels,
Deceased v. The Milton Hershey School, et al.

Civil Action No. 1:16-cev-02145-CCC (M.D. Pa.)

Dear Judge Carlson:

Our Firm represents Plaintiffs in the above-referenced matter. We are in receipt of
correspondence dated August 30, 2017 with a proposed Order concerning Third-Party Subpoenas
served upon Pinnacle Health and Leslie P. Davis, LPC. Our law Firm was not privy to any
discussions with regard to the Stipulated Order between John DeLorenzo, Esquire representing
Pinnacle Health and Leslie Davis, LPC and counsel for the Milton Hershey School.

We do not have any objection to records related to Abby Bartel’s treatment being
provided. However, to the extent that Defendants are seeking confidential treatment records
from other individuals besides Abby Bartel’s including but not limited to Julie Bartels, Frederick
Bartels, Jr., and/or Karen Fitzpatrick those records are confidential protected health information
that require additional protections and likely are not even relevant in the instant matter.

The proposed Order as provided to Your Honor is not clear as to the scope of information
to be produced.

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We are available to discuss this matter at Your Honor’s convenience.
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. “Gregory B. Cirillo

GFC/tlv

Enclosure

ce: (via e-mail)
Jarad W. Handelman, Esquire
Kyle M. Elliott, Esquire
John DeLorenzo, Esquire
Kevin J. Neary, Esquire
John J. Higson, Esquire

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